                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                            Plaintiff,          )
                                                )
                     v.                         )            No. 12-4040-02-CR-C-FJG
                                                )
TONEY ANTWANE JONES,                            )
                                                )
                            Defendant.          )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Toney Antwane Jones by consent, appeared before the undersigned on April
29, 2014, and pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to the Information filed on
April 24, 2014. After cautioning and examining Defendant, under oath, in accordance with the
requirements of Rule 11, it was determined that the guilty plea was made with full knowledge of
the charge and the consequences of pleading guilty, was voluntary, and that the offense to which
Defendant has plead guilty is supported by a factual basis for each of the essential elements of
the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Jones be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).




                                              Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge
April 29, 2014
Jefferson City, Missouri




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